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         In the United States Court of Federal Claims
                                   No. 20-308C
                           (Filed: September 30, 2021)
***************************************
HID GLOBAL CORPORATION,               *
                                      *
                  Plaintiff,          *
                                      *
v.                                    *
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
                                      *
***************************************
                                    ORDER
      Pursuant to the Court’s Order granting the parties’ Joint Motion to Dismiss
(ECF 55), the Clerk is directed to enter judgment. The case is dismissed with
prejudice pursuant to Rule 41(a).


      IT IS SO ORDERED.
                                           s/ Stephen S. Schwartz
                                           STEPHEN S. SCHWARTZ
                                           Judge
